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                   UNITED STATES DISTRICT COURT
                  WESTERN DISTRICT OF KENTUCKY
                        LOUISVILLE DIVISION
               CRIMINAL ACTION NO. 3:13-CR-00050-TBR-2


  UNITED STATES OF AMERICA                                                      Plaintiff

  v.

  SHAUNDRELL ROBINSON                                                        Defendant
  (Defendant No. 2)



                                        ORDER

         This matter is before the Court upon Defendant Shaundrell Robinson’s Motion

  to Suppress. (Docket No. 49.) Pursuant to 28 U.S.C. § 636(b)(1)(B), the Court referred

  Defendant’s Motion to the United States Magistrate Judge to conduct a suppression

  hearing and issue a report and recommendation. (Docket No. 50.) The Magistrate

  Judge conducted a suppression hearing on December 12, 2013, and issued his Findings

  of Fact, Conclusions of Law, and Recommendation on March 5, 2014, recommending

  that the Defendant’s Motion to Suppress be denied. (Docket No. 72.)


         Defendant Robinson, in his original Motion, moved to suppress statements he

  made after his arrest on grounds that he did not knowingly and voluntarily waive his

  Miranda rights. (See Docket No. 49.) During the December 12 suppression hearing,

  Defendant made an oral motion to suppress on grounds that the police lacked probable

  cause to arrest him. The Magistrate Judge considered both arguments in his Report and

  Recommendation. (Docket No. 72.) Defendant Robinson did not file objections to the

  Magistrate Judge’s recommendation; however, he did file a second Motion to Suppress,


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  (Docket No. 75), and requested a Franks hearing to address the issue of probable cause.

  The Court has since scheduled a hearing on Defendant’s second Motion for April 15,

  2014. (See Docket No. 77.)


         In United States v. Curtis, the Sixth Circuit outlined the proper standard of

  review for objections to a ruling or recommendation by a Magistrate Judge:

                 Thus, § 626 creates two different standards of review for
             district courts when a magistrate court’s finding is challenged in
             district court. A district court shall apply a “clearly erroneous or
             contrary to law” standard of review for the “nondispositive,
             preliminary measures of § 636(b)(1)(A).” United States v.
             Raddatz, 447 U.S. 667, 673 (1980). Conversely, “dispositive
             motions” excepted from § 636(b)(1)(A), such as motions for
             summary judgment or for the suppression of evidence, are
             governed by the de novo standard. Id. at 674.

  237 F.3d 598, 603 (6th Cir. 2001) (emphasis added). Accordingly, the Court has

  conducted a de novo review of the transcript of the suppression hearing, (Docket No.

  62), the Magistrate Judge’s Findings of Fact and Conclusions of Law, (Docket No. 72).

  Having done so, the Court will adopt the portion of the Magistrate Judge’s Report

  relative to the issue whether Defendant Robinson knowingly and voluntarily waived his

  Miranda rights. In view of Defendant Robinson’s pending Motion to Suppress, (Docket

  No. 75), and the hearing on that Motion set for April 15, the Court will defer ruling on

  the portion of the Magistrate Judge’s Report relative to the issue whether police had

  probable cause to stop and arrest Defendant Robinson. Accordingly;


         IT IS HEREBY ORDERED that the Magistrate Judge’s Report and

  Recommendation, (Docket No. 72), is ADOPTED IN PART, and the portions thereof




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  relative to the issue whether Defendant Robinson knowingly and voluntarily waived his

  Miranda rights are incorporated herein by reference.


           IT IS HEREBY FURTHER ORDERED that Defendant Robinson’s Motion

  to Suppress, (Docket No. 49), is DENIED. The Court makes no ruling at this time

  relative to the issues raised in Defendant Robinson’s second Motion to Suppress,

  (Docket No. 75), and declines to adopt the portions of the Magistrate Judge’s Report

  and Recommendation addressing those issues at this time.

           IT IS SO ORDERED.


  Date:   April 1, 2014




  cc:      Counsel for Defendant
           AUSA




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